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Beverly Cahill
The Sundmaker Firm, LLC
State Bar No.: 24031785
3131 McKinney, Ste. 600
Dallas, TX 75204
Telephone: (972) 869-9026
Fax: (504) 568-0519
E-mail: beverly@sundmakerfirm.com
ATTORNEYS FOR MOVANT

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 In re:                                         §              Case No. 20-41957
 Jason Christopher Warren                       §                 Chapter 13
 xxx-xx-4381                                    §
                                                §
                                                §
                                                §

   MOTION OF SANTANDER CONSUMER USA INC. DBA CHRYSLER CAPITAL
   FOR RELIEF FROM THE STAY AGAINST THE 2019 DODGE CHALLENGER
           WITH WAIVER OF 30 DAY HEARING REQUIREMENT

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUTPCY
COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
FOURTEEN (14) DAYS FROM THE DATE OF SERVICE UNLESS THE COURT
SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO
BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF
SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE
COURT WILL THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE
RIGHT TO SET A HEARING ON ANY MATTER.



TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
       COMES NOW, Santander Consumer USA Inc. dba Chrysler Capital (“Movant”),

complaining of Jason Christopher Warren (“Debtor”) for cause of action would respectfully show

the Court as follows:
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         1.    This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 157 and

11 U.S.C. § 362. This is a core proceeding.

         2.    Debtor filed a voluntary petition pursuant to Chapter 13 of Title 11 on September

16, 2020.

         3.    Movant, directly or as agent for the holder, holds a security interest in Debtor’s

2019 Dodge Challenger, Vehicle Identification Number 2C3CDZAG7KH603807 (the “Vehicle”).

Copies of the Contract and Certificate of Title are attached as Exhibits “A” and “B” respectively.

         4.    Debtor’s Chapter 13 Plan provides for surrender of the Vehicle to Movant. The

Vehicle was surrendered on November 1, 2020.

         5.    As of November 10, 2020, the Debtor was in arrears in the amount of $10,305.26

and payoff amount was $32,930.24, as evidenced by the payment history ledger attached as Exhibit

“C.”

         6.    The approximate current fair market value of the Vehicle is $24,925.00, which is

the average of the NADA retail and trade-in values attached as Exhibit “D.”

         7.    For these reasons, Movant does not have and Debtor is unable to offer adequate

protection of Movant’s interest in the Vehicle or adequate assurance of future performance under

the terms of the confirmed plan or the Contract.

         8.    Debtor has no equity in the vehicle and, therefore, there is no cushion to protect

against depreciation.

         9.    Further cause may exist to terminate the automatic stay if the Vehicle is not

properly insured. Movant hereby demands proof of full coverage insurance, listing Movant as loss-

payee.
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        WHEREFORE, PREMISES CONSIDERED, Santander Consumer USA Inc. dba

Chrysler Capital, prays for:

        1.      An Order of this Court granting Movant relief from the automatic stay imposed

pursuant to 11 U.S.C. § 362;

        2.      An Order of this Court authorizing Movant to take immediate possession of the

Vehicle which is the subject of this Motion without further notice to the Debtor, the Trustee, the

Debtor’s counsel, or any other party-in-interest.

        3.      In the alternative, an Order of this Court requiring Debtor to provide Movant with

adequate protection of its interest in the Vehicle; and

        4.      For such other and further relief, whether at law or in equity, to which Movant may

be justly entitled.

                                              Respectfully submitted,

                                              /s/ Beverly Cahill
                                              The Sundmaker Firm, LLC
                                              State Bar No.: 24031785
                                              3131 McKinney, Ste. 600
                                              Dallas, TX 75204
                                              Telephone: (972) 869-9026
                                              Fax: (504) 568-0519
                                              E-mail: beverly@sundmakerfirm.com
                                              ATTORNEYS FOR MOVANT
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                                      Certificate of Service

       I hereby certify that on November 30, 2020, a true and correct copy of the above and

foregoing document shall be served by regular, first class mail, and/or via electronic means to the

below individuals.


 Carey D. Ebert                   US Trustee                       J. Brian Allen
 P. O. Box 941166                 Office of the U.S. Trustee       P.O. Box 1398
 Plano, TX 75094-1166             110 N. College Ave.              Sulphur Springs, TX 75483-
                                  Suite 300                        1398
                                  Tyler, TX 75702

 Jason Christopher Warren         PRA Receivables
 502 Ashton Lane                  Management, LLC
 Reno, TX 75462                   PO Box 41021
                                  Norfolk, VA 23541-1021

                                             /s/ Beverly Cahill
                                             Beverly Cahill
